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                            UNITED STATES DISTRICT CO URT
                            SO UTHERN DISTRICT O F FLO RIDA
                            CASE NO.20-20961-CIV-W ILLIAM S

   SILVA HARAPETI,

         Plaintiff,
   VS.

   CBS TELEVISION STATIO NS,INC.ela/.

         Defendants.
                             /

                                            ORDER

         THIS M ATTER is before the Courton Magistrate Judge Lauren Fleischer Louis'

   reportand recommendation (the 'dReport'')(DE 112)on Plaintiff's corrected motion for
   conditionalcedification and facilitation ofCourbAuthorized Notice Pursuantto 29 U.S.C.

   j 216(b). (DE 28). The Reportrecom m ends that Plainti#'s m otion be GRA NTED IN
   PART. The Parties did notfi
                             le objections to the Reportand the time to do has now
   passed. The Court has independently reviewed Judge Louis'Reportand the record.

   Accordingly,itis O RDERED AND A DJUDG ED as follows':

         1. The conclusionsinthe Report(DE 112)are AFFIRMED AND ADOPTED.
            Plaintiff'smotion (DE 28)isGRANTED IN PART.
             A collective action Iim ited to sim ilarly situated em ployees who w orked as

            Freelance Television Journalists orProducers forCBS Television atW FOR-

            TV in M iam iin the three'years preceding the filing ofthis action is

            CO NDITIO NA LLY CERTIFIED.

         3. The Parties'amended proposed classnotice (DE 117-1)isAPPROVED.
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           4. W ithin 15 days ofthis Order,Defendants shallproduce the nam e,Iâstknown

              address,telephone num ber,and em ailaddress ofaIIpotentialplaintiffs to the

              third-party adm inistratorresponsible foradm inistering the notice process.

           5. The third-pady administratorshallsend the approved class notice (DE 117-1)
              to each potentialclass m em berby both U.S.M ailand by em ail.

              Potentialplaintiffs shallhave 60 days from the date the notices are initially

              mailed to file a Consentto Become Opt-ln Plainti
                                                             ffForm (DE 28-3).
           7. A copy ofthe approved classnotice (DE 117-1)shallbe posted atW FOR-TV'S
              business Iocations in M iam i,Florida.

           DO NE A ND ORDERED in Chambers in M iam i,Florida,this 11th day ofJanuary,

   2021.




                                                       KATHLE    M .W ILLIAMS

                                                       UNITEDS(ATESDISTRICTJUDGE
